Case 4:18-cr-10036-JEM Document 22 Entered on FLSD Docket 02/21/2019 Page 1 of 3


                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 18-10036-CR-MARTINEZ/SNOW



  UNITED STATES OF AMERICA,

                 Plaintiff,

  vs.

  BORIS LUIS ESPINOSA-LOPEZ,

              Defendant.
  ________________________________/


                REPORT AND RECOMMENDATION ON CHANGE OF PLEA

                 THIS CAUSE having come on to be heard upon the Order of Reference (ECF No.

  15) from United States District Judge Jose E. Martinez, to the undersigned, to conduct a proceeding

  for acceptance of a guilty plea by Defendant, Boris Luis Espinosa-Lopez in the above referenced

  case. The undersigned, having conducted a Change of Plea hearing on February 19, 2019

  recommends to the District Court as follows:

                 1. On February 19, 2019, the undersigned convened a hearing to permit Defendant,

  Boris Luis Espinosa-Lopez to enter a change of plea in the aforementioned matter. At the outset of

  the hearing, the undersigned advised the Defendant of his right to have these proceedings conducted

  by the District Judge assigned to the case. Further, the Defendant was advised that the Change of

  Plea hearing was being conducted on an Order of Reference from the District Judge, at the request

  of the Defendant, the Defendant’s attorney and the Assistant United States Attorney assigned to this

  case. The undersigned further advised the Defendant that the District Judge assigned to this case

  would be the sentencing judge and would make all findings and rulings concerning the Defendant’s

  sentence.
Case 4:18-cr-10036-JEM Document 22 Entered on FLSD Docket 02/21/2019 Page 2 of 3



                 2. The Defendant was advised that he did not have to permit the undersigned United

  States Magistrate Judge to conduct this hearing and could request that the Change of Plea hearing

  be conducted only by a United States District Judge. The Defendant, the Defendant’s attorney and

  the Assistant United States Attorney assigned to the case all agreed on the record and consented to

  this Court conducting the Change of Plea hearing.

                 3. The undersigned conducted a plea colloquy in accordance with the outline set forth

  in the Bench Book for District Judges.

                 4. There is a written Plea Agreement which had been entered into by the parties in

  this case. The undersigned reviewed the Plea Agreement on the record and had the Defendant

  acknowledge that he signed the Plea Agreement. This Court also made certain that the Defendant

  was aware of any minimum mandatory sentences and the maximum sentences which could be

  imposed in this case pursuant to the Plea Agreement and the applicable statutes. The Defendant

  acknowledged that he understood these possible maximum penalties which could be imposed in

  his case.

                 5. Defendant, Boris Luis Espinosa-Lopez pled guilty to the sole count of the

  Indictment, which charges him with illegal re-entry into the United States after removal, in violation

  of 8 U.S.C. §§ 1326(a) and (b)(2).

                 6. The Government stated a factual basis for the entry of the plea which included all

  of the essential elements of the crime to which the Defendant is pleading guilty and any sentencing

  enhancements and/or aggravating factors that may be applicable.

                 7. Based on all of the foregoing and the plea colloquy, the undersigned recommends

  to the District Judge that Defendant, Boris Luis Espinosa-Lopez be found to have freely and


                                                    2
Case 4:18-cr-10036-JEM Document 22 Entered on FLSD Docket 02/21/2019 Page 3 of 3



  voluntarily entered his guilty plea to the sole Count of the Indictment as more particularly described

  herein and that he be adjudged guilty of that offense.

                 8. A Presentence Investigation Report is being prepared for the District Court by the

  United States Probation Office. Sentencing has been set for April 29, 2019 at 2:00 p.m. before the

  Honorable Jose E. Martinez, United States District Judge, 301 Simonton Street, 1st Floor Courtroom,

  Key West, Florida 33040.

                 Accordingly, the undersigned RECOMMENDS that Defendant, Boris Luis Espinosa-

  Lopez’ plea of guilty be accepted, the Defendant be adjudged guilty of the offense to which he has

  entered his plea of guilty and that a sentencing hearing be conducted for final disposition of this

  matter.

                 The parties will have fourteen (14) days from the date of being served with a copy

  of this Report and Recommendation within which to file written objections, if any, with the

  Honorable Jose E. Martinez, United States District Judge. Failure to file objections timely shall bar

  the parties from a de novo determination by the District Judge of an issue covered in the Report and

  shall bar the parties from attacking on appeal unobjected-to factual and legal conclusions contained

  therein, except upon grounds of plain error if necessary in the interest of justice. See 28 U.S.C.

  § 636(b)(1); Thomas v. Arn, 474 U.S. 140, 149 (1985); Henley v. Johnson, 885 F.2d 790, 794

  (1989); 11th Cir. R. 3-1 (2016).

                 DONE AND SUBMITTED at Key West, Florida, this 21st day of February, 2019.




  Copies furnished:
  SAUSA Philip Jones (MIA)
  AFPD Stewart Abrams (MIA)
  U.S. Probation (KW)



                                                    3
